Case MDL No. 3089 Document 1-7 Filed 09/18/23 Page 1 of 28




EXHIBIT D
            Case MDL No. 3089 Document 1-7 Filed 09/18/23 Page 2 of 28




                           Query       Reports    Utilities       Help    Log Out


                              U.S. District Court
                  Eastern District of Louisiana (New Orleans)
            CIVIL DOCKET FOR CASE #: 2:23-cv-05353-EEF-KWR


Coppock v. Procter & Gamble et al                             Date Filed: 09/18/2023
Assigned to: Judge Eldon E. Fallon                            Jury Demand: Plaintiff
Referred to: Magistrate Judge Karen Wells Roby                Nature of Suit: 195 Contract Product
Cause: 28:1332 Diversity-Product Liability                    Liability
                                                              Jurisdiction: Diversity
Plaintiff
Kaycie Coppock                             represented by Jennifer M. Hoekstra
Individually on behalf of themselves                      Aylstock, Witkin, Kreis & Overholtz
and all other similarly situated.                         17 E Main Street
                                                          Suite 200
                                                          Pensacola, FL 32502
                                                          850-202-1010
                                                          Fax: 850-916-7449
                                                          Email: jhoekstra@awkolaw.com
                                                          ATTORNEY TO BE NOTICED


V.
Defendant
Procter & Gamble

Defendant
Target


Date Filed       # Docket Text
09/18/2023      1 COMPLAINT with jury demand against Procter & Gamble, Target (Filing
                  fee $ 402 receipt number ALAEDC-10156429) filed by Kaycie Coppock.
                  (Attachments: # 1 Exhibit A, # 2 Civil Cover Sheet, # 3 Summons Procter
                  & Gamble, # 4 Summons Target)Attorney Jennifer M. Hoekstra added to
                  party Kaycie Coppock(pty:pla).(Hoekstra, Jennifer) (Entered: 09/18/2023)
09/18/2023      2 Initial Case Assignment to Judge Eldon E. Fallon and Magistrate Judge
                  Karen Wells Roby. (kls) (Entered: 09/18/2023)
Case MDL No. 3089 Document 1-7 Filed 09/18/23 Page 3 of 28




                         PACER Service Center
                             Transaction Receipt
                              09/18/2023 17:27:32
     PACER
                    jordansteele   Client Code:     decon
     Login:
                    Docket         Search           2:23-cv-05353-EEF-
     Description:
                    Report         Criteria:        KWR
     Billable Pages: 1             Cost:            0.10
      CaseCase
           2:23-cv-05353-EEF-KWR
               MDL No. 3089 Document
                                 Document
                                     1-7 Filed
                                          1 Filed
                                               09/18/23
                                                   09/18/23
                                                         PagePage
                                                              4 of 28
                                                                   1 of 25




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA




KAYCIE COPPOCK, on behalf
                                                      2:23-cv-5353
                                           Case No. ________________ ____________
of themselves and all other
similarly situated,
                                           CLASS ACTION COMPLAINT
              Plaintiff,
                                           JURY DEMAND
vs.

PROCTER & GAMBLE; TARGET
CORPORATION,

              Defendants.




                           CLASS ACTION COMPLAINT
      Kaycie Coppock (“Plaintiff”), on behalf of herself and all others similarly

situated, file this Class Action Complaint (“CAC”) against Defendants Procter &

Gamble (“P&G” or “Defendant”) and Target Corporation (“Target”) and in support

states the following:

                            NATURE OF THE ACTION

      1.     This is a class action lawsuit brought under Louisiana’s consumer

protection laws by Plaintiff, and others similarly situated, who purchased the

following    over-the-counter   (“OTC”)     decongestant   products   containing


                                       1
     CaseCase
          2:23-cv-05353-EEF-KWR
              MDL No. 3089 Document
                                Document
                                    1-7 Filed
                                         1 Filed
                                              09/18/23
                                                  09/18/23
                                                        PagePage
                                                             5 of 28
                                                                  2 of 25




phenylephrine: (1) Vicks Nyquil Severe Cold and Flu, (2) Vicks NyQuil Sinex, and

(3) Target Sinus PE (collectively the “Products”). These Products are manufactured,

sold and distributed by Defendants and have been found by the U.S. Food and Drug

Administration (“FDA”) to lack efficacy. The Products’ lack of efficacy was not

disclosed to Plaintiff prior to Plaintiff’s purchase of the Products and Plaintiff would

not have purchased the Products had he known they did not work as advertised.

Plaintiff and the putative class suffered economic damages due to Defendants’

misconduct (as set forth below) and they seek injunctive relief and restitution for the

full purchase price of the Products they purchased. Plaintiff alleges the following

based upon personal knowledge as well as investigation by counsel, and as to all

other matters, upon information and belief. Plaintiff further believes that substantial

evidentiary support will exist for the allegations set forth herein after a reasonable

opportunity for discovery.

                          JURISDICTION AND VENUE

      2.     This Court has original jurisdiction pursuant to 28 U.S.C. §1332(d)(2).

The matter in controversy, exclusive of interest and costs, exceeds the sum or value

of $5,000,000 and is a class action in which there are in excess of 100 class members

and Plaintiff is a citizen of a state different from Defendants.

      3.     This Court has jurisdiction over each Defendant because both

Defendants are authorized to conduct and do business in Louisiana. Defendants have


                                           2
     CaseCase
          2:23-cv-05353-EEF-KWR
              MDL No. 3089 Document
                                Document
                                    1-7 Filed
                                         1 Filed
                                              09/18/23
                                                  09/18/23
                                                        PagePage
                                                             6 of 28
                                                                  3 of 25




marketed, promoted, distributed, and sold the Products in Louisiana and Defendants

have sufficient minimum contacts with this State and/or sufficiently avail themselves

of the markets in this State through promotion, sales, distribution and marketing

within this State to render the exercise of jurisdiction by this Court permissible.

       4.    Venue is proper in this Court pursuant to 28 U.S.C. §1391(a) and (b)

because a substantial part of the events or omissions giving rise to Plaintiff’s claims

occurred while he resided in this judicial district. Venue is also proper under 18

U.S.C. §1965(a) because Defendants transact substantial business in this District.

                                  THE PARTIES

      5.     Plaintiff Kaycie Coppock is a citizen and resident of Abita Springs, St.

Tammany Parrish, LA and at all times relevant hereto, has been a resident of St.

Tammany Parrish. Within the class period define defined below, Plaintiff purchased

NyQuil Severe Cold and Flu, NyQuil Sinex, and Target Sinus PE in St. Tammany

Parrish. During that time, based on the false and misleading claims by Defendants,

Plaintiff was unaware that Defendants’ Products were not an effective remedy for

congestion and/or cold symptoms. Plaintiff purchased the Defendants’ Products on

the assumption that the labeling of the Products was accurate and that the Products

worked as advertised. Plaintiff would not have purchased Defendants’ Products had

he known they were not effective and lacked efficacy. As a result, Plaintiff suffered

injury in fact when she spent money to purchase Products she would not otherwise


                                           3
     CaseCase
          2:23-cv-05353-EEF-KWR
              MDL No. 3089 Document
                                Document
                                    1-7 Filed
                                         1 Filed
                                              09/18/23
                                                  09/18/23
                                                        PagePage
                                                             7 of 28
                                                                  4 of 25




have purchased absent Defendants’ misconduct, as alleged herein.

      6.    Defendant Procter & Gamble is an Ohio corporation with its

headquarters and principal place of business at One Procter & Gamble Plaza,

Cincinnati, Ohio 45202. Procter & Gamble manufactures, markets, advertises,

labels, distributes and sells Vicks NyQuil. Procter & Gamble may be served via its

registered agent, C T Corporation System, 1200 South Pine Island Rd., Plantation,

FL 33324.

      7.    Defendant Target is a Minnesota corporation with its headquarters and

principal place of business at 1000 Nicollet Mall, Minneapolis, Minnesota 55403.

Target manufactures, markets, advertises, labels, distributes, and sells generic OTC

products containing phenylephrine, including Target-branded Sinus PE.

                               INTRODUCTION

       8.   Defendant, Procter & Gamble, is a corporation engaged in the

manufacture, marketing, and sale of various OTC pharmaceutical products,

including Vicks NyQuil.

       9.   Defendant, Target, is a corporation engaged in the manufacture,

marketing, and sale of various OTC pharmaceutical products, including generic

products like Target Sinus PE that contain phenylephrine.

      10.   Collectively, Defendants Procter & Gamble and Target marketed and

sold the Products to consumers in Louisiana and across the United States as an


                                         4
     CaseCase
          2:23-cv-05353-EEF-KWR
              MDL No. 3089 Document
                                Document
                                    1-7 Filed
                                         1 Filed
                                              09/18/23
                                                  09/18/23
                                                        PagePage
                                                             8 of 28
                                                                  5 of 25




effective nasal decongestant.

      11.     The main active ingredient in the Products is phenylephrine

hydrochloride, or “PE.” In 1994, the FDA issued a final monograph establishing

conditions under which OTC nasal decongestant drug products are generally

recognized as safe and effective (“GRASE”) and not misbranded. Phenylephrine is

included in the final monograph as an OTC oral nasal decongestant. Defendants

marketed PE as an effective decongestant that should be used to relieve nasal

congestion and sinus pressure associated with colds, allergies, and other respiratory

conditions.

      12.     According to Defendants, phenylephrine works by constricting blood

vessels in the nasal passages, which reduces swelling and congestion.

      13.     Over the years, Defendants made the following claims in their

marketing materials concerning the efficacy of their Products,

      14.     For example, for Vicks Nyquil Sinex, these claims include:

              •       ALL IN ONE SINUS + MUCUS Liquicaps
              provide relief from sinus congestion, pressure, and pain
              resulting from the common cold, hay fever, or       other
              upper respiratory allergies – so you can     breathe
              freely fast.

              •     Powerful Sinus Pressure & Pain Relief

              •    Maximum Strength Relief from Headaches and
              Congestion

      15.     For Vicks NyQuil Severe Cold and Flu, these claims include:
                                         5
      CaseCase
           2:23-cv-05353-EEF-KWR
               MDL No. 3089 Document
                                 Document
                                     1-7 Filed
                                          1 Filed
                                               09/18/23
                                                   09/18/23
                                                         PagePage
                                                              9 of 28
                                                                   6 of 25




               •    The congestion, pressure & pain, clear your head,
               medicine.

               •      Fast Relief- Clear your head with fast acting
               nighttime relief.

               •      PROVEN RELIEF FOR YOUR WORST COLD &
               FLU SYMPTOMS. Life doesn’t stop when you have a
               cold. NyQuil SEVERE tackles your most bothersome cold
               & flu symptoms helping to take you from 9 to none.

               •      WORLD'S #1 SELLING OTC COUGH AND
               COLD BRAND. Vicks has been trusted for over 125 years
               to relieve your worst cold & flu symptoms.


       16. For Target Sinus PE these claims include:

               •     Designed to help with nasal congestion and
               breathing troubles

               •     Relies on phenylephrine to keep you on your feet as
               you battle your cold




                                                                                         1



1
   Source: Target.com   (https://www.target.com/p/sinus-pe-non-drowsy-congestion-relief-tablets-36ct-up-38-up-
8482/-/A-11004431)

                                                    6
     Case
        Case
          2:23-cv-05353-EEF-KWR
              MDL No. 3089 Document
                                Document
                                    1-7 Filed
                                          1 Filed
                                              09/18/23
                                                   09/18/23
                                                        PagePage
                                                             10 of 728
                                                                     of 25




      17.   In 2007, the consumer advocacy group Public Citizen filed a petition

with the U.S. Food and Drug Administration (FDA) regarding phenylephrine. The

petition requested that the FDA re-evaluate the safety and efficacy of phenylephrine

as a nasal decongestant and take regulatory action.

      18.   Public Citizen expressed concerns that phenylephrine, the active

ingredient in many OTC decongestant products, was not as effective as another

decongestant called pseudoephedrine.

      19.   The petition argued that the switch from pseudoephedrine to

phenylephrine in many cold and allergy medications had not been supported by

adequate scientific evidence demonstrating the latter's effectiveness in relieving

nasal congestion.

      20.   Public Citizen also raised concerns about the potential side effects and

safety of phenylephrine, suggesting that its use might lead to increased blood

pressure in some individuals.

      21.   The FDA reviewed the concerns raised by the Public Citizen petition

regarding the safety and efficacy of phenylephrine as a nasal decongestant. The FDA

concluded that, based on the available data at the time of its review in 2007,

phenylephrine could be considered effective as a nasal decongestant when used at

the recommended doses.


                                         7
     Case
        Case
          2:23-cv-05353-EEF-KWR
              MDL No. 3089 Document
                                Document
                                    1-7 Filed
                                          1 Filed
                                              09/18/23
                                                   09/18/23
                                                        PagePage
                                                             11 of 828
                                                                     of 25




      22.     Thus, in 2007, the FDA concluded that orally administered PE was

Generally Recognized as Safe and Effective (GRASE).

      23.     The FDA’s GRASE determination allowed Defendants to market the

Products as an OTC or “over-the-counter” medication. This was an important

designation to Defendants as it allowed them to market the Products to consumers

without requiring a doctor’s prescription, making it more accessible for self-

treatment, and allowing Defendants to make billions of dollars in OTC sales.

      24.     However, on September 11th and 12th, 2023, the FDA issued a new

report detailing its updated review of the efficacy of phenylephrine, based on the

studies it initially reviewed in 2007 and additional studies obtained since its initial

review. A copy of the FDA’s report is attached as Exhibit A.

      25.     The FDA's findings are based on rigorous scientific research and

evaluation.

      26.     At its initial 2007 Nonprescription Drugs Advisory Committee

(“NDAC”) meeting and review, the FDA reviewed clinical effectiveness data for

oral doses between 5mg and 40mg in a total of 14 studies, of which 7 reported

positive measurable efficacy results.

      27.     In its re-analysis of these studies in 2023, the FDA found significant

problems:

              [w]hen considering the studies through a modern drug
              review lens, all of the studies (both positive and negative)
                                           8
      Case
         Case
           2:23-cv-05353-EEF-KWR
               MDL No. 3089 Document
                                 Document
                                     1-7 Filed
                                           1 Filed
                                               09/18/23
                                                    09/18/23
                                                         PagePage
                                                              12 of 928
                                                                      of 25




              were highly problematic in both design and
              methodology. All used a highly variable endpoint (NAR)
              to study a drug in the setting of a highly variable disease
              state (the common cold) that is no longer used as a primary
              endpoint to evaluate congestion in pivotal trials.2 Further,
              all the positive studies (and most of the negative studies)
              were unpublished and therefore never peer-reviewed. Six
              of the seven positive studies came from a single study
              center (funded by the manufacturer of Neo-Synephrine),
              were very small in size, and (except in one instance) the
              results could not be duplicated at two other study centers
              (also funded by the same manufacturer) that used a similar
              study design and methodology. (emphasis added).
Exhibit A.


       28.    The FDA thus found that the original studies had data integrity issues

and that the results from the Elizabeth study site, a study it relied on in 2007, could

not be duplicated in at least two other Sterling-Winthrop study sites that used a

similar study design and methodology.

       29.    As noted in the FDA’s re-evaluation of the data, the original studies

used to support the GRASE determination in 2007 were based on “equivocal

findings.” Exhibit A. Indeed, there were “significant deficiencies” in the “design

and conduct of these studies.” Id.




2
  The FDA’s Guidance for Industry on Developing Drug Products for Treatment of Allergic
Rhinitis recommends use of symptom scores for the primary endpoint in clinical trials. See FDA,
2018, Guidance for Industry; Allergic Rhinitis: Developing Drug Products for Treatment,
https://www.fda.gov/regulatory-information/search-fda-guidance-documents/allergic-rhinitis-
developing-drugproducts-treatment-guidance-industry (hereafter “FDA Guidance for Industry
(2018)”).
                                              9
     CaseCase
          2:23-cv-05353-EEF-KWR
              MDL No. 3089 Document
                                Document
                                    1-7 Filed
                                         1 Filed
                                              09/18/23
                                                  09/18/23
                                                        PagePage
                                                             13 of10
                                                                   28of 25




       30.    In light of the methodological and design flaws it found, the FDA now

believes that “the original studies evaluated for efficacy” are “unacceptable as

continued support for the efficacy of monographed doses or oral PE.” Exhibit A.

       31.    Since 2007, several additional large clinical trials have been

conducted regarding the efficacy of phenylephrine.3 Those studies provide

evidence of the absence of a decongestant effect from the OTC approved doses of

10 mg.

       32.    For example, Horak et al (2009) found that PE was not significantly

different from placebo in the mean change in subjective nasal congestion scores

whereas pseudoephedrine, a positive control in the study, decreased congestion

significantly greater than placebo and PE.

       33.    Day et al (2009) similarly reported no difference between PE and

placebo with respect to decreased nasal congestion scores.




3
  See, e.g., Gelotte, CK and BA Zimmerman, 2015, Pharmacokinetics, safety, and cardiovascular
tolerability of phenylephrine HCl 10, 20, and 30 mg after a single oral administration in healthy
volunteers, Clin Drug Investig, 35(9):547-558; Day, JH, MP Briscoe, JD Ratz, M Danzig, and R
Yao, 2009, Efficacy of loratadine-montelukast on nasal congestion in patients with seasonal
allergic rhinitis in an environmental exposure unit, Ann Allergy Asthma Immunol, 102(4):328-
338; Horak, F, P Zieglmayer, R Zieglmayer, P Lemell, R Yao, H Staudinger, and M Danzig, 2009,
A placebo-controlled study of the nasal decongestant effect of phenylephrine and pseudoephedrine
in the Vienna Challenge Chamber, Ann Allergy Asthma Immunol, 102(2):116-120; Meltzer, EO,
PH Ratner, and T McGraw, 2015, Oral phenylephrine HCl for nasal congestion in seasonal allergic
rhinitis: A randomized, open-label, placebo-controlled study, J Allergy Clin Immunol Pract,
3(5):702-708; Meltzer, EO, PH Ratner, and T McGraw, 2016, Phenylephrine hydrochloride
modified-release tablets for nasal congestion: a randomized, placebo-controlled trial in allergic
rhinitis patients, Ann Allergy Asthma Immunol, 116(1):66-71.
                                               10
       CaseCase
            2:23-cv-05353-EEF-KWR
                MDL No. 3089 Document
                                  Document
                                      1-7 Filed
                                           1 Filed
                                                09/18/23
                                                    09/18/23
                                                          PagePage
                                                               14 of11
                                                                     28of 25




         34.    Gelotte and Zimmerman (2015) likewise reported a lack of local

decongestion effect of PE, finding that doses up to three times the labeled OTC for

oral phenylephrine are unlikely to be effective as a nasal decongestant.

         35.    Thus, the results of several studies reported after the initial efficacy

determination of the Products in 2007 clearly demonstrate that PE is no more

effective than placebo in decreasing nasal congestion and, thus, lacks efficacy.

         36.    On September 12, 2023, an FDA panel unanimously declared that

phenylephrine, the active ingredient in the Products, is an ineffective

decongestant.

         37.    As of 2007, nasal airway resistance (“NAR”) was the principle

methodology used to assess the effectiveness of oral PE. This methodology used

measurements of airflow and air pressure in the nasal passage to calculate NAR as

an indirect measure of the level of nasal congestion.

         38.    In 2018, however, the FDA issued new guidance for industry as it

related to the use of nasal congestion symptom scores to evaluate congestion, 4

meaning that NAR was no longer used as a primary endpoint to evaluate

congestion in studies.

         39.    Based on the FDA’s new 2018 guidance, Defendants knew or should

have known that their marketing claims regarding the Products’ efficacy were false


4
    FDA Guidance for Industry (2018).
                                             11
     CaseCase
          2:23-cv-05353-EEF-KWR
              MDL No. 3089 Document
                                Document
                                    1-7 Filed
                                         1 Filed
                                              09/18/23
                                                  09/18/23
                                                        PagePage
                                                             15 of12
                                                                   28of 25




and misleading. This is because the primary endpoint for evaluating the efficacy of

the Products had changed since the FDA’s 2007 NDAC meeting, meaning that the

previous data under which the Products were approved as GRASE no longer

supported efficacy. There have been no published studies since the FDA’s revised

2008 guidance for industry was released that demonstrate the effectiveness of oral

phenylephrine as a decongestant. Accordingly, Defendants knew or should have

known by at least 2018 that their marketing claims regarding the Products’ efficacy

were false and misleading.

      40.    Plaintiff and the class members purchased the Products in reliance on

Defendants’ false and deceptive marketing claims.

      41.    As a result of Defendants’ false and deceptive marketing, Plaintiff and

the class members suffered economic damages, including the cost of purchasing

the Products.

                          CLASS ALLEGATIONS

      42.    Plaintiff brings this action on behalf of herself and all other

similarly situated class members (the “Class” or “Classes”) pursuant to Rule

23(a), (b)(2) and (b)(3) of the Federal Rules of Civil Procedure and seeks

certification of the following Class against Defendants for violations of

Louisiana state laws and/or similar laws in other states:

             Multi-State Class Action

                                         12
     CaseCase
          2:23-cv-05353-EEF-KWR
              MDL No. 3089 Document
                                Document
                                    1-7 Filed
                                         1 Filed
                                              09/18/23
                                                  09/18/23
                                                        PagePage
                                                             16 of13
                                                                   28of 25




             All consumers who purchased Vicks NyQuil Severe Cold
             and Flu, Vicks Nyquil Sinex, and Target generic
             phenylephrine Products in the United States of America
             and its territories from September 15, 2018 to the present
             for personal use or consumption.

             Excluded from the Class are individuals who allege
             personal bodily injury resulting from the use of Vicks
             NyQuil Severe Cold and Flu, Vicks Nyquil Sinex, and
             Target generic phenylephrine Products. Also excluded
             from this Class are Defendants, any parent companies,
             subsidiaries, and/or affiliates, officers, directors, legal
             representatives,    employees,      co-conspirators,    all
             governmental entities, and any judge, justice or judicial
             officer presiding over this matter.

      43.    In the alternative, Plaintiff brings this action on behalf of herself and all

other similarly situated Louisiana consumers pursuant to Rule 23(a), (b)(2) and

(b)(3) of the Federal Rules of Civil Procedure and seeks certification of the following

Sub-Classes:

             Louisiana Sub-Class

             All consumers who Vicks NyQuil Severe Cold and Flu,
             Vicks Nyquil Sinex, and Target generic phenylephrine
             Products in the State of Louisiana from September 15,
             2018 to the present for personal use or consumption.

             Excluded from the Class are individuals who allege
             personal bodily injury resulting from the use of Vicks
             NyQuil Severe Cold and Flu, Vicks Nyquil Sinex, and
             Target generic phenylephrine Products. Also excluded
             from this Class are Defendants, any parent companies,
             subsidiaries, and/or affiliates, officers, directors, legal
             representatives,    employees,      co-conspirators,    all
             governmental entities, and any judge, justice or judicial
             officer presiding over this matter.
                                           13
    CaseCase
         2:23-cv-05353-EEF-KWR
             MDL No. 3089 Document
                               Document
                                   1-7 Filed
                                        1 Filed
                                             09/18/23
                                                 09/18/23
                                                       PagePage
                                                            17 of14
                                                                  28of 25




      44.   The members of the Class are so numerous that joinder of all members

of the Class is impracticable. Plaintiff is informed and believes that the proposed

Class/Sub-Classes contains thousands of purchasers of Defendants’ Products who

have been damaged by Defendants’ conduct as alleged herein. The precise number

of Class members is unknown to Plaintiff at this time.

      45.   Plaintiff’s claims are typical to those of all Class members because

members of the Class are similarly injured through Defendants’ uniform misconduct

described above and were subject to Defendants’ deceptive marketing claims that

accompanied each and every Product. Plaintiff is advancing the same claims and

legal theories on behalf of themselves and all members of the Class/Sub-Class.

      46.   Plaintiff’s claims raise questions of law and fact common to all

members of the Class, and they predominate over any questions affecting only

individual Class members. The claims of Plaintiff and all prospective Class members

involve the same alleged defect. These common legal and factual questions include

the following:

        (a) whether Defendants’ Products contained phenylephrine;

        (b) whether Defendants’ marketing statements are false, misleading,

            or objectively reasonably likely to deceive;

        (c) whether the alleged conduct constitutes violations of the laws

            asserted;
                                        14
     CaseCase
          2:23-cv-05353-EEF-KWR
              MDL No. 3089 Document
                                Document
                                    1-7 Filed
                                         1 Filed
                                              09/18/23
                                                  09/18/23
                                                        PagePage
                                                             18 of15
                                                                   28of 25




         (d) whether Defendants’ alleged conduct violates public policy;

         (e) whether Defendants engaged in false or misleading advertising;

         (f) whether Defendants were unjustly enriched as a result of its

             labeling, marketing, advertising and/or selling of the Products;

         (g) whether Plaintiff and the Class members are entitled to damages

             and/or restitution and the proper measure of that loss; and

         (h) whether an injunction is necessary to prevent Defendants from

             continuing to market and sell Products that lack efficacy.


      47.    Plaintiff and his counsel will fairly and adequately protect and represent

the interests of each member of the class. Plaintiff has retained counsel experienced

in complex litigation and class actions. Plaintiff’s counsel has successfully litigated

other class action cases similar to that here and have the resources and abilities to

fully litigate and protect the interests of the class. Plaintiff intends to prosecute this

claim vigorously. Plaintiff has no adverse or antagonistic interests to those of the

Class, nor is Plaintiff subject to any unique defenses.

      48.    A class action is superior to the other available methods for a fair and

efficient adjudication of this controversy. The damages or other financial detriment

suffered by the Plaintiff and individual Class members is relatively small compared

to the burden and expense that would be entailed by individual litigation of their

claims against Defendants. It would thus be virtually impossible for Plaintiff and

                                           15
     CaseCase
          2:23-cv-05353-EEF-KWR
              MDL No. 3089 Document
                                Document
                                    1-7 Filed
                                         1 Filed
                                              09/18/23
                                                  09/18/23
                                                        PagePage
                                                             19 of16
                                                                   28of 25




Class members, on an individual basis, to obtain meaningful and effective redress

for the wrongs done to them. Further, it is desirable to concentrate the litigation of

the Class members’ claims in one forum, as it will conserve party and judicial

resources and facilitate the consistency of adjudications. Plaintiff knows of no

difficulty that would be encountered in the management of this case that would

preclude its maintenance as a class action.

      49.    The Class also may be certified because Defendants have acted or

refused to act on grounds applicable to the Class, thereby making appropriate final

declaratory and/or injunctive relief with respect to the members of the Class as a

whole.

      50.    Plaintiff seeks preliminary and permanent injunctive and equitable

relief on behalf of the entire Class, on grounds generally applicable to the entire

Class, to enjoin and prevent Defendant from engaging in the acts described above,

such as continuing to market and sell Products that lack efficacy, and requiring

Defendants to provide a full refund of the purchase price of the Products to Plaintiff

and Class members.

      51.    Unless a Class is certified, Defendants will retain monies received as a

result of their conduct that were taken from Plaintiff and the Class members. Unless

a Class-wide injunction is issued, Defendants will continue to commit the violations

alleged and the members of the Class and the general public will continue to be


                                         16
     CaseCase
          2:23-cv-05353-EEF-KWR
              MDL No. 3089 Document
                                Document
                                    1-7 Filed
                                         1 Filed
                                              09/18/23
                                                  09/18/23
                                                        PagePage
                                                             20 of17
                                                                   28of 25




misled. Indeed, to this day, Defendants continues to market and sell the Products

that have been determined by a unanimous FDA panel to lack efficacy.

                          FIRST CAUSE OF ACTION

                     Fraud (Fraudulent Misrepresentation)

      (On Behalf of the Plaintiff and the Louisiana Sub-Class Against All
                                   Defendants)

      52.    Plaintiff incorporates by reference and re-alleges each and every

allegation contained above, as though fully set forth herein.

      53.    Plaintiff brings this Count individually and on behalf of the Louisiana

Sub-Class.

      54.    Fraud under the Louisiana Civil Code includes the misrepresentation

or suppression of the truth made with the intention to either obtain an unjust

advantage of one party or to cause a loss or inconvenience to the other. LA Civ

Code Art. 1953 (2022).

      55.    Under the Louisiana Civil Code, fraud may result from silence or

inaction. LA Civ Code Art. 1953 (2022).

      56.    Defendants misrepresented the effectiveness of their products in both

their labeling and marketing materials in an effort to induce Plaintiff and Sub-Class

members to purchase their products.

      57.    Defendants omitted material facts from their marketing and labeling

that their products were not effective at treating the symptoms identified.
                                         17
     CaseCase
          2:23-cv-05353-EEF-KWR
              MDL No. 3089 Document
                                Document
                                    1-7 Filed
                                         1 Filed
                                              09/18/23
                                                  09/18/23
                                                        PagePage
                                                             21 of18
                                                                   28of 25




      58.    Defendants knew or should have known of the status of the

ineffectiveness of phenylephrine in their products based on regulatory studies and

regulatory guidance.

      59.    Plaintiff and Sub-Class members were justified in relying on

Defendants’ misrepresentations, as Plaintiffs would not have purchased the

products but for Defendants’ fraudulent misrepresentations.

      60.    As alleged herein, Plaintiff and the Sub-Class members have suffered

injury in fact and lost money as a result of Defendants’ conduct because they

purchased Products from Defendants in reliance on Defendants’ misrepresentation

that the Products were effective.

       61. Wherefore, Plaintiff and members of the Louisiana Sub-Class are

entitled to injunctive and equitable relief, and a full refund in the amount they spent

on the Products.



                         SECOND CAUSE OF ACTION

                           Negligent Misrepresentation

      (On Behalf of the Plaintiff and the Louisiana Sub-Class Against All
                                   Defendants)


      62.    Plaintiff incorporates by reference and re-alleges each and every

allegation contained above, as though fully set forth herein.


                                          18
     CaseCase
          2:23-cv-05353-EEF-KWR
              MDL No. 3089 Document
                                Document
                                    1-7 Filed
                                         1 Filed
                                              09/18/23
                                                  09/18/23
                                                        PagePage
                                                             22 of19
                                                                   28of 25




      63.    Plaintiff brings this Count individually and on behalf of the Louisiana

Sub-Class.

      64.    Defendants owed a duty of reasonable care to Plaintiff and the Sub-

Class members in the labeling, manufacturing, sale, and distribution of their

Products.

      65.    Defendants also had a duty to exercise reasonable care in properly and

accurately representing the effectiveness of their Products to consumers, including

Plaintiff and the Sub-Class members.

      66.    Defendants failed to exercise ordinary care when making the

misrepresentations in their marketing and labeling, claiming that their Products

were effective.

      67.    Defendants negligently and falsely misrepresented facts regarding the

effectiveness of their products to Plaintiff and the Sub-Class members.

      68.    Defendants knew or should have known that the misrepresentations

were of the effectiveness of their Products were misleading. Defendants knew or

should have known that these misrepresentations would induce Plaintiff to

purchase these Products in reliance of Defendants claims.

      69.    As a direct and proximate cause of Defendants’ negligent

misrepresentations, Plaintiff and the Sub-Class members have suffered harm.

      70.    Defendants’ misrepresentations were material and substantial factors


                                         19
     CaseCase
          2:23-cv-05353-EEF-KWR
              MDL No. 3089 Document
                                Document
                                    1-7 Filed
                                         1 Filed
                                              09/18/23
                                                  09/18/23
                                                        PagePage
                                                             23 of20
                                                                   28of 25




in Plaintiff’s and Sub-Class members purchasing and paying for the Products.

      71.    Defendants intended, or had reckless disregard, to induce Plaintiff and

Sub-Class members to purchase their Products based on their misrepresentations of

effectiveness. Plaintiff and Sub-Class members reasonably relied on the

misrepresentations made by Defendants.

      72.    Wherefore, Plaintiff and members of the Louisiana Sub-Class are

entitled to injunctive and equitable relief, and a full refund in the amount they

spent on the Products.

                          THIRD CAUSE OF ACTION

                                Unjust Enrichment

      (On Behalf of the Plaintiff and the Louisiana Sub-Class Against All
                                   Defendants)

       73.    Plaintiff incorporates by reference and re-alleges each and every

allegation contained above, as though fully set forth herein.

       74. Plaintiff brings this Count individually and on behalf of the Louisiana

Sub-Class.

       75. Each Defendant profited exponentially from their marketing and sales

of these products containing phenylephrine. Plaintiff and Sub-Class members were

deprived of the money paid for these ineffective products.

       76. Defendants were unjustly enriched by unlawfully receiving money

from Plaintiffs for ineffective products. It would be inequitable and unconscionable
                                          20
     CaseCase
          2:23-cv-05353-EEF-KWR
              MDL No. 3089 Document
                                Document
                                    1-7 Filed
                                         1 Filed
                                              09/18/23
                                                  09/18/23
                                                        PagePage
                                                             24 of21
                                                                   28of 25




for Defendants to retain the compensation obtained based on their wrongful conduct.

       77. Wherefore, Plaintiff and members of the Louisiana Sub-Class are

entitled to injunctive and equitable relief, and a full refund in the amount they spent

on the Products as well as an order from this Court requiring the disgorgement of all

profits, benefits, and additional compensation obtained by each Defendant by way

of their wrongful conduct.

                         FOURTH CAUSE OF ACTION

                                    Redhibition

      (On Behalf of the Plaintiff and the Louisiana Sub-Class Against All
                                   Defendants)


       51.    Plaintiff incorporates by reference and re-alleges each and every

allegation contained above, as though fully set forth herein.

       52. Plaintiff brings this Count individually and on behalf of the Louisiana

      Sub-Class members.

       53. Plaintiff and class members are “buyers” and Defendants are the

“manufacturers” of the Products including Vicks NyQuil Severe Cold and Flu, Vicks

NyQuil Sinex, and Sinus PE under La. C.C. Art. 2520, et seq.

       54. Under Louisiana law, the manufacturer warrants the buyer against

redhibitory defects or vices in the things sold. La. C.C.P. Art. 2520.

       55. Under Louisiana Civil Code Article 2520, a defect is redhibitory in two


                                          21
     CaseCase
          2:23-cv-05353-EEF-KWR
              MDL No. 3089 Document
                                Document
                                    1-7 Filed
                                         1 Filed
                                              09/18/23
                                                  09/18/23
                                                        PagePage
                                                             25 of22
                                                                   28of 25




situations: (1) When the defect “renders the thing useless, or its use so inconvenient”

that it has to be presumed that the buyer would not have bought the thing had he

known of the defect or (2) when, “without rendering the thing totally useless,” the

defect diminishes the product’s usefulness or its value such that it must be presumed

that the buyer would still have bought it but for a lesser price.

       56. Defendants’ products, including Vicks NyQuil Severe Cold and Flu,

Vicks NyQuil Sinex, and Sinus PE, contain a vice or defect which renders them

useless and ineffective, as they claim to relieve nasal decongestion while

phenylephrine is actually ineffective in relieving nasal decongestion.

       57. Had Plaintiff and Sub-Class members known that the products

containing phenylephrine (including Vicks NyQuil Severe Cold and Flu, Vicks

NyQuil Sinex, and Sinus PE) were ineffective in relieving nasal decongestion, they

would not have purchased the Products at all, or at least not for the price paid, and

thus the defects in the Products as described above, meet the definition of a

redhibitory defect.

       58. Under a redhibition claim the inquiry is not subjective but objective

“into the deficiency and whether it diminishes the product's value or renders it so

inconvenient that the reasonable buyer would not have purchased it had he known

of the deficiency.” Mire v. Eatelcorp., Inc., 927 So. 2d 1113, 1120 (La. Ct. App.

2005) writ denied 926 So. 2d 549 (La. 2006).


                                          22
     CaseCase
          2:23-cv-05353-EEF-KWR
              MDL No. 3089 Document
                                Document
                                    1-7 Filed
                                         1 Filed
                                              09/18/23
                                                  09/18/23
                                                        PagePage
                                                             26 of23
                                                                   28of 25




       59. At the time of the sale of Defendants’ Products to Plaintiff and Sub-

Class members, Defendant had actual or constructive notice of the ineffectiveness

of the Products as nasal decongestants based on prior regulatory and scientific action

and investigation.

       60. Defendants are a “manufacturer” of their Products under La. C.C. Art.

2520, et seq. As a manufacturer, Defendant is deemed to have knowledge of any

redhibitory defect in any product it sells. La. C.C.P. Art. 2545.

       61. When bringing a redhibition claim under Louisiana law, plaintiffs are

entitled to damages including “reasonable attorney fees.” Hollybrook I, 772 F.3d at

1036 (quoting La. Civ. Code art. 2545) (emphasis omitted).

       62. Plaintiff and members of the Class are entitled to injunctive relief,

compensatory damages, equitable and declaratory relief, costs and reasonable

attorneys’ fees.



                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, on behalf of herself and all others similarly situated,

pray for judgment against the Defendants as to each and every count, including:

      A.     An order declaring this action to be a proper class action, appointing

             Plaintiff and her counsel to represent the Class/Sub-Classes, and

             requiring Defendants to bear the costs of class notice;


                                         23
CaseCase
     2:23-cv-05353-EEF-KWR
         MDL No. 3089 Document
                           Document
                               1-7 Filed
                                    1 Filed
                                         09/18/23
                                             09/18/23
                                                   PagePage
                                                        27 of24
                                                              28of 25




 B.    An order enjoining Defendants from selling the Products;

 C.    An order enjoining Defendants from suggesting or implying that they

       are effective for human application;

 D.    An order requiring Defendants to engage in a corrective advertising

       campaign and engage in any further necessary affirmative injunctive

       relief, such as recalling existing Products;

 E.    An order awarding declaratory relief, and any further retrospective or

       prospective injunctive relief permitted by law or equity, including

       enjoining Defendants from continuing the unlawful practices alleged

       herein, and injunctive relief to remedy Defendants’ past conduct;

 F.    An order requiring Defendants to pay restitution/damages to restore all

       funds acquired by means of any act or practice declared by this Court

       to be an unlawful, unfair, or fraudulent business act or practice, untrue

       or misleading advertising in violation of the above-cited authority, plus

       pre- and post-judgment interest thereon;

 G.    An order requiring Defendants to disgorge any ill-gotten benefits

       received from Plaintiff and members of the Class/Sub-Classes as a

       result of any wrongful or unlawful act or practice;

 H.    An order requiring Defendants to pay all actual and statutory damages

       permitted under the counts alleged herein;


                                    24
    CaseCase
         2:23-cv-05353-EEF-KWR
             MDL No. 3089 Document
                               Document
                                   1-7 Filed
                                        1 Filed
                                             09/18/23
                                                 09/18/23
                                                       PagePage
                                                            28 of25
                                                                  28of 25




     I.    An order awarding attorneys’ fees and costs to Plaintiff and the

           Class/Sub-Classes; and

     J.    An order providing for all other such equitable relief as may be just and

           proper.

                           DEMAND FOR JURY TRIAL
     Plaintiff demands a trial by jury on all issues so triable.


DATED: September 18, 2023

                                By: /s/ Jennifer Hoekstra
                                AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
                                PLLC
                                Jennifer Hoekstra (LA Bar #34716)
                                17 East Main Street, Suite 200
                                Pensacola, FL 32502
                                Telephone: 850-202-1010
                                Facsimile: 850-916-7449
                                E-mail: jhoekstra@awkolaw.com
                                Attorney for Plaintiff




                                         25
